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TRANSCRIPT OF “How to Buy a Truly Untraceable Firearm”
Posted to CRS Firearms YouTube Channel on Dec 15, 2020

MH = MATTHEW RAYMOND HOOVER

DT = DONALD TRUMP

US = UNIDENTIFIED SPEAKERS

Or might take the firearms first and then go to court.

States really have felt it's been necessary to — to take on some greater
form of gun legislation with more teeth. So seventeen states and the
District of Columbia have adopted the red flag law.

Also found out from Fostech that the federal government had
reclassified the firearm they were selling as the SBV, and we've done a
video on that firearm here before on the channel. Well, they told
Fostech that was a perfectly legal firearm to sell, and they're not
inexpensive. Well, pretty much the same day, maybe the day after, we
found out from Fostech that the ATF has reclassified it as a short-
barreled shotgun, a destructive device, and any other weapon. Three
different categories under the NFA Act from 1934. So if you own one,
now you're a felon.

The synopsis of the entire article is that you have state representative in
Virginia who has threatened to deploy the National Guard against
communities that have adopted Second Amendment sanctuary
resolutions. That includes county and municipalities. This is a threat
from an elected official against the citizens of that state using military
force and might and equipment that you pay for with your own taxes to

disarm you of your Second Amendment right recognized in the

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Constitution and guaranteed by God and given by God.

So under the last presidency, we had a president that promised not to
mess with the Second Amendment. Not only did he not keep that
promise, we also lost due process. Now we have a new president that
one of his main campaign slogans was to attack the Second
Amendment and he wants to remove firearms. Take that with a grain of
salt. You know, what does that really mean? However, | believe
people have gotten complacent with how secure their firearms actually
are.

Now, this came to light with my — the video | did about my firearm being
stolen. There was so many comments that said that is gone forever, it's
in the bottom of a river, it's been lost on the street, and that's not true.
The problem with that firearm was the lack of motivation. | guarantee
you if that firearm promotes a vice president tomorrow, not only will they
find the firearm, they will locate every single person that has been in
possession with it. But again, the lack of motivation was why — even
though | told the cops exactly who stole it and | showed them my proof
to Know that | Know who had stolen it, they still didn't do anything about
it.

The sponsor of today's video is autokeycard.com. You can order their
products at their website. You can also order their products with
discreet shipping. Print out their shipping form, put cash or a money
order in there, have it mailed to your anti-gun relative, pick up your
package there, completely off of the books. They are going to be

running a 30-percent-off sale until | believe the end of the year, but

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don't quote me on that.

Lack of motivation. They have better things to do like harass me for a
cracked windshield or not having the proper tags on my car or being too
drunk, which | gotta say key fobs and automatically turning on
headlights were like the best thing that ever happened to me because |
don't look like such a moron trying to leave the bar. | just gotta
remember to roll my window down before | toss out my cigarette, and
the only thing | have to interface with is the ignition.

But back to the point. If there was proper motivation, like when my
firearm was stolen, if | would have been like, "Hey, | believe this guy is
mentally unstable, | think he might go shoot up the K through 12," they
would have found it. They would have found it within like 48 hours. If it
promotes a vice president, they will find it. They will not only find it,
they will know every single person that's been in possession with it.
Again, lack of motivation.

So what's the point of this video? The point of this video is if they wind
up doing — like UN forces come in and they do some sort of gun
confiscation, to say that nobody knows you have your firearms, it's — it's
hard. It's doable, and we'll talk about that, but it's a real tough bill to fill.
So number one, there are two ways to sell a firearm. One, through a
dealer, which you'll get a percentage of the firearm's value. Number
two, a private sale, which you will get full value.

Now, the private sales just make me sick 'cause once upon a time,
when you could sell firearms on Facebook, you would see post after

post after post, "| need to see your, uh, concealed carry license," or,

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"Yes, | can sell it to you, but | need a copy of your driver's license," and

they're totally missing the point of a private sale. A private sale is to get
a clean firearm. A dirty firearm has paperwork behind it, a paper trail.
You want that paper trail broken.

I've even went to go buy a firearm privately and they're like, "I need a
copy of your driver's license before the sale is final." I'm like, "Why
even waste your time with all that? Let's just go down to the local FFL
shop and we'll run it through the books, but I'm only gonna pay you
dealer price, then. You're only gonna get about 60 percent of that
firearm's value. And you know what? Not only are we gonna do that, |
want a copy of your driver's license and a picture of all your children
just in case | find out you sold me a stolen firearm and now the cops
show up at my house, | Know where to start looking for you."

When you're doing a private sale, if they want that stuff, walk away or
be like, "Okay. Yeah, fine, but we're going to the dealer and | want it
done the right way and I'm only paying you 60 percent of this firearm's
value." If you want full value, there is a risk attached to it. That risk is
that's where | want the paper trail broken. And even then, let's pretend,
okay, so you went and buy this firearm privately. The paper trail's
broken. But if there's enough motivation to find that firearm, | Know
people that have got busted doing dirty stuff from cellphone records,
from a company they haven't had in years.

The problem here, the biggest, biggest problem where we all got
screwed was after 9/11 happened. So many people were in fear, they

were able to push something through called the PATRIOT Act. Before

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the PATRIOT Act, there was no records allowed to be kept on

American citizens. There's other — there's other things that it did that's
bad.

Just look up the PATRIOT Act. If there's any one thing you guys should
be fighting — yeah, the '86 ban was bad. Yeah, red flag laws was bad.
Yeah, every piece of gun legislation that has come down the pipe has
been bad. This trumps all of that. Tne PATRIOT Act is so ridiculously
un-American, criminal, it needs to be off the books. If you want to make
a change for the future to make this country better for your kids, figure
out a way to get that thing off the damn records. That needs to go
away. That is horrible.

Anyhoo, so you buy this firearm privately. They can track it through
cellohone records. If you want a clean private sale, you need to get
yourself a burner phone. You need to set up a burner email. Talk to
the person through your burner email. Use your burner phone to call
them. Do not let them have your driver's license. Do not let them take
pictures of your car or your license plate. And then after you get the
firearm at home, destroy all that crap. But that only protects you on a
clean private sale. You would have to never have ordered anything
whatsoever with a credit card at all or have anything shipped to your
house at all that's firearm related. We're talking ammunition, gun parts,
uh, hunting license, anything like that, tactical gear. And that stuff is
next to impossible to acquire without using a credit card at some point.
Yeah, there's people that are super paranoid and | know they've done

this and they are completely clean and off the books, but that's few and

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far in between.

Like people like me, it's not even worth me trying anymore because of
the reach | have, the topics | cover. If they did a gun confiscation, I'd be
one of the first people that get offed. They would either have a
complete internet blackout so nobody could talk — 'cause if we started
talking about the confiscations, we'd have a civil war. So they would
either shoot me immediately with a dirty shot or, "He — it looked like he
had a gun; it looked like he was gonna draw a gun." Or they'd have
somebody from the police station tip me off that they're coming so I'm
waiting by the door with a shotgun and then they have probable cause
to kill the crap out of me.

And then they probably have like some major creator that's borderline
not pro-2A, but yet they are pro-2A, probably in the line stacking up,
vlogging the whole frickin’ thing. Today the police invited me on a ride-
along so we can go get this domestic terrorist and make It look
completely bad, and because he's already got his foot in the door of the
2A community it would go. Yeah, they'd have to obviously rotate the
police, 'cause like my local Sheriff, he's a good dude.

| had a way better opinion about police before lockdown. Now after
lockdown, | see police over and over and over again attacking their own
communities, shutting places down, arresting people for violating these
malicious orders. So | have a totally different opinion now. But before
the beginning of this year, | had a very high opinion of police. And he
would most definitely — he'd have to be moved to some other station.

They'd bring in police that know nothing about the area, so he'd just

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drag his feet, and then we'd all hear about it, and we'd all prepare, and

it would go over like shit.

Oh, my God, | went way off in the weeds. So where were we? So if
they want to track a firearm right now, the first thing they do Is they call
the manufacturer of the firearm. But first, who in the hell would leave a
firearm at the scene of a crime? You take that thing with you so you
can go commit another crime. Tracking a firearm is so ridiculous. It
makes — there are occasions where a firearm needs to be tracked, but
they're so few and far in between. Usually that's to try to catch
somebody selling a firearm to a prohibited person. They don't solve
crimes by tracking firearms. They figure out more criminals that they
can add on to the list by tracking a firearm. So it's completely useless
to have the ability to track a firearm.

But anyway, right now — so they call the manufacturer. "This is the
serial number we got. Um, this firearm, where did it go?" And they'd be
like, "Okay. We sent it to this distributor." So they'd call that distributor
and they'd be like, "Okay. We sent it to this gun shop. Here's the FFL."
So then they'd call me. They'd have me look in my books and I'd be
like, "Okay. | sold it to Mike Honcho.” Mike Honcho, they'd get ahold of
him. Then he would go, "Okay. | sold it to the gun shop down the
street." So then they'd go to that gun shop. Then they'd look at their
books, see where it went from where, and it just keeps on going.

So what you need is a break in the paper trail. The best ways to do this
is obviously a private sale face-to-face. Let's talk to older gentlemen

because they actually understand freedom and they're not gonna ask

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you for stupid things like a driver's license or anything like that; and

they're old enough where if the cops came to them and they felt it was
for a malicious purpose, there's a likelinood that they'll tell them to kick
sand. Those are the best places to acquire your firearms.

Now, you also got — it's gotta be face-to-face with cash. And there are
other ways to do it, but you want the paper trail broken. And chances
are the firearms in their closet, they haven't went through an FFL since
like the early '70s. Great opportunity to buy them. Unfortunately, you're
gonna be getting firearms that aren't tactical in nature, like Browning
Ads, Remington 1100, stuff like that. However, you know, a little bit of
work, they can do the job.

So the moral of this video and the whole point of this video is — | believe
we've got complacent on what we feel is an actual — a clean firearm, no
paperwork behind it, nothing. It's 100 percent clean. This really came
into light when they went after Polymer80. They literally went in there
and took their customer list. And if we did have some sort of
confiscation, oh, they'd go into Midway, Brownells, every other shop
and take their customer list.

So again, | guess the point I'm trying to stress here is if you want a
stash firearm, something you can save for a rainy day, you need to be
very careful; burner phones, burner emails, face-to-face transactions.
Be super hardcore, cloak and dagger. Always know it's trackable. If
they're properly motivated to find that firearm and they're allowed to use
whatever resources necessary to find that firearm, they will find that

firearm unless you literally cover all your tracks. It's that bad. But if

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you've ordered from Brownells and Midway, it doesn't really matter.

Why even try to hide it? Because they already know you got firearms.
Whether or not you're willing to turn them over willingly is a different
story. But anyway, thank you for watching. If you'd like to help support
the channel, | got my Patreon right there. | also have affiliate links with
a description down below. Just by clicking on those links, doing the
Amazon shopping you were gonna do anyway, even if you don't buy
what the link is for, | get a little kickback for it because you came there
off my channel. Thank you for watching. Don't forget to subscribe.

(CONCLUSION OF VIDEO)

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